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                                        U.S. 04/15/20 Page
                                             Department     1 of 5
                                                        of Justice                         PageID #: 7

                                                      Civil Rights Division


                                                      Disability Rights Sec/ion ·· 4 CON
                                                      950 Pe1111sylm11ia Ave, NIV
                                                      ll'ashi11gto11, DC 20530

                                                         FEB 1 8 2020
DJ# 205-21 -3

CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Wayne Sam
91-1290 Kaneone o Street
Kapolei, HI 96707

       Re:       EEOC Charge Against:          SOII-Depai1ment of Public Safety
                 EEOC No.:                     486-2015 -00365
                 DJ#:                          205-21-3




Deai· Mr. Sam:

                    NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

        It has been determin ed that the Departm ent of Justice (the Departm ent) will not file suit
on the above-re ferenced charge of discrimin ation that was referred to us by the Equal
Employm ent Opportun ity Commiss ion (EEOC). This should not be taken to mean that the
Depai1ment has made a judgmen t as to whether or not your charge is meritorio us.

       You are hereby notified that conciliati on on your case was unsucces sful by the EEOC.
You are further notified that you have the right to institute a civil action under Title I oftbe
American s with Disabiliti es Act of 1990 CADA), 42 U.S.C . § 12111, et seq., against the above-
named responde nt. If you choose to commence a civil action, such suit must be filed in the
appropria te cow1 within 90 days of yom receipt of this Notice.

        Therefor e, if you wish to pursue this matter, you should consult an attorney at your
earliest convenie nce. If you are unable to locate an attorney, you may wish to contact the
EEOC or apply to the appropria te com1, since that court may appoint an attorney in appropria te
circumsta nces under Section 706(±)(1) of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-
5(t)(l), reference d in Section 107(a) of the ADA, 42 U.S.C. § 2117(a).
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We are returning the files in this matter to EEOC's Local Office. If you or your attorney, have
any questions concerning this matter or wish to inspect the investigative file, please address your
inquiry to:

                                      Rosa Viramontes
                                      District Director
                                      Honolulu Local Office
                                      Equal Employment Opportunity Commission
                                      300 Ala Moana Blvd, Room 4257
                                      Honolulu, HI 96850




     Enclosed you will find a list of state resources and a Notice of Rights under the ADA
Amendments Act of2008 (ADAAA).

       We arc forwarding a copy of this Notice of Right to Sue to the Respondent in this case.

                                               Sincerely,

                                               Eric S. Dreiband
                                               Assistant Attorney General




                                      BY: ~;r~
                                           7          Amanda Maisels
                                                      Deputy Chief
                                                      Disability Rights Section

Enclosure:
       Hawaii State Resources
      Notice of Rights under the ADAAA


       cc:    SOR-Department of Public Safety
              EEOC - Los Angeles District Office




                                                 2
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EEOC Form 5 ( 11/09)


                       CHARGE OF DISCRIMINATION                                                           Charge Presented To:              Agency(ies) Charge No(s):
             This form Is affected by the Privacy Acl of 1974. See enclosed Privacy Act
                     Slalemenl and other information before completing this form.
                                                                                                             D    FEPA
                                                                                                            [R]   EEOC                         486-2015-00365
                                                             Hawai'i Civil Rights Commission                                                                 and EEOC
                                                                          State or local Agency, if any

Name (indicate Mr. , Ms.• Mrs.)                                                                                   Home Phone (Incl. Area Code)            Dale of Birth

Mr. Wayne Sam                                                                                                        (808) 227-2384
Street Address                                                                   City, State and ZIP Code

91-674 Makalea St., Ewa Beach, HI 96706

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That                            I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                              No. Employees, Members      Phone No. (Include Area Code)

SOH-DEPT OF PUBLIC SAFETY                                                                                            201 - 500                   (808) 677-6150
Street Address                                                                   City, Slate and ZIP Code

Waiawa Correctional Facility, 94-560 Kamehameha Hwy, Waipahu, HI 96797

Name                                                                                                              No. Employees, Members      Phone No. (Include Area Code)



Street Address                                                                   City, Slate and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                      DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                Earliest              Latest

  D       RACE         D     COLOR
                                            D       SEX         D       RELIGION      D       NATIONAL ORIGIN                10-21-2014                 10-21-2014
       D         RETALIATION          D     AGE     []]     DISABILITY          D         GENETIC INFORMATION

                 D     OTHER (Specify)                                                                                           D          CONTINUING .ACTION

THE PARTICULARS ARE (If additional paper is needed. attach extra sheet(s)):


  I was hired as an Adu lt Corrections Officer Recruit in September 21, 1998. My last position was Adult
  Corrections Officer Ill at the Waiawa Correctional Facility.

  Respondent is aware of my disability.

  On October 1, 2014, Lieutenant/Watch Commander Anthony Monteith Ill served me with MOU
  Investigation paperwork indicating that I was at steps 10 and ·11. I refused to sign the document as
  no investigation was attached. I was expecting a corrected document.

  Between October 1 and 21, 2014, I did not report to work due to the effects of my disability.



I want this c harge filed with both the EEOC and the Slate or local Agency, if any. I        NOTARY - When necessary for State and Local Agency Requirements
will advise lhe agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their
procedures.                                                                                                                                                               to
I declare under penalty of perjury that the above is true and correct.                       the best of my knowledge, infor
                                                                                             SIGNATURE OF COMPLAINANT
                                                                                                                                            AUG 2 5 2015

                                  x       {;J          IL- ~                                 SUBSCRIBED AND SWORN TO BE O~~f!fS~Cf'T£
                                                                                             (month, day, yea!)          C,                C \...) V
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                                                                                                                                                         .-1 -
                                                                                                                                 ' - - - - - - -·-- · ....
                                                                                                                                                                 () ·
           Date                            &z:-ging Party Signature
         Case 1:20-cv-00164-SOM-RT Document 1-1 Filed 04/15/20 Page 4 of 5                                                                PageID #: 10
EEOC Form 5 (11/09)


                      CHARGE OF D ISCRIMINATION                                                          Charge Presented To:         Agency(ies) Charge No(s):
            This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
                    Statement and other information before completing this form.
                                                                                                            D FEPA
                                                                                                            0 EEOC                         486-2015-00365
                                                             Hawai'i Civil Rights Commission                                                            and EEOC
                                                                         State or local Agency, if any



  On October 21, 2014, I reported to work and Lieutenant Monteilh provided me with another MOU
  investigation indicating that I had reached the 15th step. I was terminated and escorted out of the
  facility.

  Respondent has a policy by which if you do not have leave available and miss more than 15 days of
  work you must resign.

  I bel ieve that I have been discriminated against due to my disability, in violation of the Americans
  with Disabilities Act of 1990, as amended. I also believe that a class of employees with d isabilities
  has also been subjected to disability discrimination.
                                                                                                                 -




I want this charge filed with both the EEOC and the State or local Agency, if any. I        NOTARY - When necessary for Stale and Local Agency Requirements
will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing or my charge in accordance with their
procedures.                                                                                 I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct.                      the best of my knowledge, information and belief.
                                                                                            SIGNATURE OF COMPLAINANT




 x   g /z_ I / y
           Dale
                       JS" x          vJ€F"'          ;i .   L
                                              Charging Party Signature
                                                                                            SUBSCRIBED AND SWORN TO BEFORE ME TH IS DATE
                                                                                            (month. day, year)
 Case 1:20-cv-00164-SOM-RT Document 1-1 Filed 04/15/20 Page 5 of 5                                 PageID #: 11




                           U.S. Equal Employment Opportunity Commission
                                        Honolulu Local Office                                          300 Ala Moana Blvd
                                                                                                               Room 7-127
                                                                                                        Honolulu, HI 96850
                                                                                                            (808) 541-31 18
                                                                                                      TDD: 1-800-669-6820
                                                                                                       Fax: (808) 541-3390
                                                                                                           1-800-669-4000
Respondent: SOH-DEPT OF PUBLIC SAFETY
EEOC Charge No.: 486-2015-00365
FEPA Charge No.:
                                                                                                   August28, 2015
Wayne Sam
91-674 Makalea St.
Ewa Beach, HI 96706


Dear Sam:

This is to acknowledge receipt of the above-numbered charge of employment discrimination against the above-
named respondent. Please use the "EEOC Charge No." listed above whenever you call us about this charge. The
information provided indicates that the charge is subject to:

    [ ]        Title VII of the Civil Rights Act of 1964 (Title VII)
    [ ]        The Age Discrimination in Employment Act (ADEA)
    [X]        The Americans with Disabilities Act (ADA)
    [ ]        The Equal Pay Act (EPA)
    [ ]        The Genetic Information Nondiscrimination Act (GINA)

You need do nothing further at this time. We will contact you when we need more information or assistance. A
copy of the charge or notice of the charge will be sent to the respondent within 10 days of our receipt of the
charge as required by our procedures.

Please be aware that we will send a copy of the charge to Hawai'i Civil Rights Commission 830 Punchbowl Street
Suite 411 Honolulu, HI 96813 as required by our procedures. If the charge is processed by that agency, it may
require the charge to be signed before a notary public or an agency official. Then the agency will investigate and
resolve the charge under their statute. If this occurs, section 1601. 76 of EEOC's regulations entitles you to ask us
to perform a Substantial Weight Review of the agency's final finding. To obtain this review, a written request must
be made to this office within 15 days of receipt of the agency's final finding in the case. Otherwise, we will
generally adopt the agency's finding as EEOC's.

While your charge is pending, please notify us of any change in your address, or where you can be reached if you
have any prolonged absence from home. Your cooperation in this matter is essential.

                                                       Sincerely,


                                                      ~acioSaure
                                                       Local Office Director
                                                       (808) 541 -3118
                                                '-'
Office Hours: Monday- Friday, 8:00 a.m . - 4:30 p.m.
www.eeoc.gov
Enclosure(s)
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